Case 2:04-cr-20304-.]PI\/| Document 79 Filed 05/27/05 Page 1 of 3 Page|D 11;1
y
IN THE UNITED STATES DISTRICT COURT FH-EL‘) !z;:r" l

FOR THE WESTERN DIS'I`RICT OF 'I`ENNESSEE
WESTERN DIVISION

    
  

 

UI\II'I`ED STATES OF AMERICA
Plaintiff,

Criminal Ntncl%:j gojgo& Ml

(30-Day Continuance)

Mm/zm_ // /W/W\

 

 

 

 

\_/\_z\f/\_/\_/~_/~_/~_/~_/`_/~__/\_/`_,`_,__,___,.__,`_,-__,`_,

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated. by the signatures below, the United_ States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should he
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the June, 2005,
criminal rotation calendar, but is now RESET for report at QLQQ
a.m. on Fridavl June 24, 2005, with trial to take place on the
July, 2005 rotation calendar with the time excluded under the
Speedy Trial Act through July 15, 2005. Agreed in open court at

report date this 27th day of May, 2005.

Th|s document entered on the docket§heit in gomp|ian ce
with mile 55 and/or 32(b) FF\ch on 53 “..3/~0”5’

 

Case 2:04-cr-20304-.]PI\/| Document 79 Filed 05/27/05 Page 2 of 3 Page|D 118

so 0RDERED this 27th day of May, 2005.

§§ N\LQ.QQL,

'JON PHIPPS MCCALLA
% UN TED STATES DISTRICT JUDGE

Assistant United States Attorney

A,A § isn la jose \’1»\\
(/

 

 

 

 

 

 

 

Counsel for Defendant{s)

   

UNITED sTEATsDTlsRICT COURT - WESRTE DISTRICT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 79 in
case 2:04-CR-20304 Was distributed by faX, mail, or direct printing on
May 31, 2005 to the parties listed.

 

 

Leonard E. Lucas

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Eric Scott Hall
WAGERMAN LAW FIRM
200 Jefferson Ave.

Ste. 13 13

1\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

